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13                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                             WESTERN DIVISION

15    JOSHUA MATTHEWS,                           Case No. 2:20-cv-07841-PA-JPR
16    individually and on behalf of all
      others similarly situated,                 CLASS ACTION
17              Plaintiff,                       JOINT STIPULATION OF
18                                               DISMISSAL
      vs.
19    MID CITY CANNABIS CLUB, INC.               JURY TRIAL DEMANDED
20    d/b/a LA BREA COLLECTIVE, a
      California corporation,
21              Defendant.
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                              JOINT STIPULATION OF DISMISSAL
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           Plaintiff, Joshua Matthews, and Defendant, Mid City Cannabis Club, Inc. d/

2    b/a La Brea Collective, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),
3
     do hereby stipulate to the dismissal of this action as follows:
4
           1.     All claims of the Plaintiff, Joshua Matthews, individually, are hereby
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6    dismissed with prejudice.
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           2.     All claims of any unnamed member of the alleged class are hereby
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     dismissed without prejudice.
9

10         3.     Each party shall bear its own attorneys’ fees and costs.
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12
     Dated: May 5, 2021
13
     Respectfully Submitted,
14                                                 By: /s/ Nathaniel Lipanovich
     /s/ Joshua Moyer                              Andrew P. Holland
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                             JOINT STIPULATION OF DISMISSAL
     Case 2:20-cv-07841-PA-JPR Document 44 Filed 05/05/21 Page 3 of 3 Page ID #:331




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2                               CERTIFICATE OF SERVICE
3          I hereby certify that on May 5, 2021, I electronically filed the foregoing
4    document with the Clerk of the Court using CM/ECF. I also certify that the
5    foregoing document is being served this day on all counsel identified below via
6    transmission of Notices of Electronic Filing generated by CM/ECF or in some
7    other authorized manner.
8
9                                        By:    /s/ Joshua Moyer
                                                Joshua Moyer, Esq.
10
                                                California Bar No. 259908
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                                                Attorneys for Plaintiff and the Class
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                           JOINT STIPULATION OF DISMISSAL
